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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


  In re:                                                    Chapter 11

  Silvergate Capital Corporation,                           Case No. 24-12158 (___)

                                        Debtor.
  Tax I.D. No. XX-XXXXXXX

  In re:                                                    Chapter 11

  Silvergate Liquidation Corporation,                       Case No. 24-12159 (___)

                                        Debtor.
  Tax I.D. No. XX-XXXXXXX

  In re:                                                    Chapter 11

  Spring Valley Lots, LLC,                                  Case No. 24-12157 (___)

                                        Debtor.
  Tax I.D. No. XX-XXXXXXX


                 DEBTORS’ MOTION FOR ENTRY OF AN ORDER
            DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

       The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion (this “Motion”):

                                     RELIEF REQUESTED

       1.      The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Proposed Order”), directing the joint administration of the above-captioned

chapter 11 cases for procedural and administrative purposes only.

                                JURISDICTION AND VENUE

       2.      The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334 and Amended Standing Order of Reference from the United States District Court for the
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District of Delaware dated as of February 29, 2012. This is a core proceeding under 28 U.S.C.

§ 157(b). The Debtors consent under 9013-1(f) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”)

to the entry of a final order by the Court in connection with this Motion to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgment in

connection herewith consistent with Article III of the United States Constitution. Venue is proper

in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The predicates for the relief requested by this Motion are sections 342(c)(1) of title

11 of the United States Code (the “Bankruptcy Code”), rules 1015(b) and 2002 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Local Rules 1015-1 and 9013-1.

                                          BACKGROUND

       4.      On the date hereof (the “Petition Date”), the Debtors filed with this Court voluntary

petitions for relief under Chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11

Cases”).

       5.      The Debtors continue to operate their businesses and manage their properties as

debtors in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. No request for

the appointment of a trustee or examiner has been made in these Chapter 11 Cases, and no

committees have been appointed or designated.

       6.      Additional information regarding the Debtors and these Chapter 11 Cases,

including the Debtors’ businesses, operations, capital structure, financial condition and the reasons

for and objectives of these Chapter 11 Cases is set forth in the Declaration of Elaine Hetrick in




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Support of First Day Motions and Related Relief (the “First Day Declaration”)1, filed

contemporaneously herewith and fully incorporated herein by reference.

                               BASIS FOR RELIEF REQUESTED

         7.     Bankruptcy Rule 1015(b) provides, in relevant part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015(b).         In addition, Local Rule

1015-1 provides additional authority for the Court to order joint administration of the Chapter 11

Cases:

                An order of joint administration may be entered, without notice and
                an opportunity for hearing, upon the filing of a motion for joint
                administration pursuant to Fed. R. Bankr. P. 1015, supported by an
                affidavit, declaration or verification, which establishes that the joint
                administration of two or more cases pending in this Court under title
                11 is warranted and will ease the administrative burden for the Court
                and the parties.

Del. Bankr. L.R. 1015-1.

         8.     As set forth on Exhibit A to the First Day Declaration, Silvergate Capital

Corporation directly or indirectly holds 100% of the equity interests in each of Silvergate

Liquidation Corporation and Spring Valley Lots, LLC.               As such, each of the Debtors are

“affiliates” as that term is defined under Section 101(2) of the Bankruptcy Code. Thus, joint

administration of the Chapter 11 Cases is appropriate under Bankruptcy Rule 1015(b) and Local

Rule 1015-1.

         9.     Joint administration of the Debtors’ cases is warranted because it will ease the

administrative burden on the Court and the parties. Joint administration of the Debtors’ Chapter

11 Cases will eliminate the need for duplicate pleadings, notices, and orders in each of the


1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the First Day
    Declaration.

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respective dockets and will save the Court, the Debtors, and other parties in interest substantial

time and expense when preparing and filing such documents. Further, joint administration will

protect parties in interest by ensuring that they will be apprised of the various motions filed with

the Court with respect to each of the Debtors’ Chapter 11 Cases. Therefore, joint administration

of the Debtors’ Chapter 11 Cases is appropriate under Bankruptcy Rule 1015(b) and Local Rule

1015-1.

         10.   In addition, the Debtors request that the Court maintain one file and one docket for

all of the Debtors’ Chapter 11 Cases under the case of Silvergate Capital Corporation, and that

these Chapter 11 Cases be administered under a consolidated caption, as follows:

                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


In re:                                                    Chapter 11

SILVERGATE CAPITAL CORPORATION, et                        Case No. 24-12158 (__)
al.
                                                          (Jointly Administered)
                Debtors. 1



         11.   The Debtors also propose to include the following footnote in each pleading filed

and notice mailed by the Debtors:

               The Debtors in these chapter 11 cases, along with the last four digits
               of each Debtor’s federal tax identification number, as applicable, are
               as follows: Silvergate Capital Corporation (7337), Silvergate
               Liquidation Corporation (4449) and Spring Valley Lots, LLC
               (0474). The Debtors’ mailing address is 4225 Executive Square,
               Suite 600, La Jolla, CA 92037.

         12.   The Debtors request that the Clerk of this Court make an entry on the docket of

each of the Chapter 11 Cases, with the exception of Silvergate Capital Corporation, to reflect the

joint administration of these Chapter 11 Cases substantially as follows:

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                The Bankruptcy Court has entered an order in accordance with Rule
                1015(b) of the Federal Rules of Bankruptcy Procedure directing the
                joint administration and procedural consolidation of the chapter 11
                cases of Silvergate Capital Corporation and its affiliated debtors.
                The docket in Case No. 24-12158 (___) should be consulted for all
                matters affecting these cases.

        13.     The Debtors further request that the Court order that the foregoing caption and

footnote satisfy the requirements of section 342(c)(1) of the Bankruptcy Code.

        14.     For the reasons set forth herein, the Debtors submit that the relief requested is in

the best interest of the Debtors, their estates, creditors, and other parties in interest, and therefore,

should be granted.

                                               NOTICE

        15.     No creditors’ committee, trustee or examiner has been appointed in these Chapter

11 Cases. Notice of this Motion has been provided to: (a) the U.S. Trustee; (b) the Internal

Revenue Service; (c) the United States Department of Justice; (d) the United States Attorney for

the District of Delaware; (e) the California Department of Financial Protection and Innovation; (f)

the Federal Deposit Insurance Corporation; (g) the Federal Reserve Board of Governors; (h) the

parties identified on the Debtors’ list of 20 largest unsecured creditors; and (i) if not listed herein,

those parties requesting notice pursuant to Bankruptcy Rule 2002. As this Motion is seeking “first

day” relief, within forty-eight (48) hours of the entry of an order with respect to this Motion, the

Debtors will serve copies of this Motion and any order entered with respect to this Motion as

required by Local Rule 9013-1(m). The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be provided.

                                       NO PRIOR REQUEST

        16.     No prior request for the relief sought in this Motion has been made to this or any

other court.


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               WHEREFORE, the Debtors respectfully request that the Court enter the Proposed

Order, substantially in the form attached hereto, granting the relief requested in this Motion and

such other and further relief as the Court deems appropriate under the circumstances.


 Dated: September 17, 2024
        Wilmington, Delaware
                                     /s/ Michael J. Merchant
                                     RICHARDS, LAYTON & FINGER, P.A.
                                     Paul N. Heath (No. 3704)
                                     Michael J. Merchant (No. 3854)
                                     David T. Queroli (No. 6318)
                                     Emily R. Mathews (No. 6866)
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                                       - and -

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                                       Proposed Attorneys for the
                                       Debtors and Debtors in Possession




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                      Exhibit A

                    Proposed Order
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


     In re:                                                            Chapter 11

     Silvergate Capital Corporation,                                   Case No. 24-12158 (___)

                                                 Debtor.
     Tax I.D. No. XX-XXXXXXX

     In re:                                                            Chapter 11

     Silvergate Liquidation Corporation,                               Case No. 24-12159 (___)

                                                 Debtor.
     Tax I.D. No. XX-XXXXXXX

     In re:                                                            Chapter 11

     Spring Valley Lots, LLC,                                          Case No. 24-12157 (___)

                                                 Debtor.
     Tax I.D. No. XX-XXXXXXX


                              ORDER DIRECTING JOINT
                  ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

           Upon the motion (the “Motion”)1 of the Debtors for entry of an order (this “Order”)

directing the joint administration of the above-captioned chapter 11 cases (these “Chapter 11

Cases”) for procedural and administrative purposes only, as more fully set forth in the Motion; and

the Court having reviewed the Motion and the First Day Declaration; and the Court having

jurisdiction to consider the Motion and the relief requested therein in accordance with 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012; and the Court having found that this




1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and that this Court may enter a final order

consistent with Article III of the United States Constitution; and the Court having found that venue

of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and it appearing that proper and adequate notice of the Motion has been given and that no other or

further notice is necessary, except as set forth in the Motion with respect to entry of this Order;

and upon the record herein; and after due deliberation thereon; and the Court having determined

that the relief requested in the Motion is in the best interests of the Debtors, their estates, their

creditors, and other parties in interest, it is hereby

         ORDERED, ADJUDGED, AND DECREED THAT:

         1.     The Motion is GRANTED as set forth herein.

         2.     The above-captioned Chapter 11 Cases shall be consolidated for procedural

purposes only and shall be jointly administered by the Court under the case number assigned to

Silvergate Capital Corporation, Case No. 24-12158, and the consolidated caption of the jointly

administered cases should read as follows:

                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 11

SILVERGATE CAPITAL CORPORATION, et                            Case No. 24-12158 (__)
al.
                                                              (Jointly Administered)
                            1
                 Debtors.



         3.     The caption shall include the following footnote in each pleading filed and notice

mailed by the Debtors:

                The Debtors in these chapter 11 cases, along with the last four digits of each
                Debtor’s federal tax identification number, as applicable, are as follows:
                                                    2
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               Silvergate Capital Corporation (7337), Silvergate Liquidation Corporation
               (4449) and Spring Valley Lots, LLC (0474). The Debtors’ mailing address
               is 4225 Executive Square, Suite 600, La Jolla, CA 92037.

       4.      The foregoing caption and footnote satisfy the requirements set forth in section

342(c)(1) of the Bankruptcy Code and Bankruptcy Rule 2002(n).

       5.      A docket entry shall be made in each of the Chapter 11 Cases, except that of

Silvergate Capital Corporation, substantially as follows:

               The Bankruptcy Court has entered an order in accordance with Rule 1015(b)
               of the Federal Rules of Bankruptcy Procedure directing the joint
               administration and procedural consolidation of the chapter 11 cases of
               Silvergate Capital Corporation and its affiliated debtors. The docket in the
               case of Silvergate Capital Corporation, Case No. 24-12158 (___) should be
               consulted for all matters affecting these cases.

       6.      The procedural consolidation shall be for administrative purposes only and nothing

contained in the Motion or this Order shall be deemed or construed as directing or otherwise

effecting the substantive consolidation of the Chapter 11 Cases.

       7.      The Debtors are authorized and empowered to take all actions necessary to

implement and effectuate the relief granted in this Order.

       8.      This Order shall take effect immediately upon entry.

       9.      This Court retains jurisdiction with respect to all matters arising from or related to

the enforcement of this Order.




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